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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 OXFORD DIVISION


LUCILLE WASHINGTON-SEALS,                                                    Plaintiff,

v.                                                          CASE NO.: 3:19-cv-078-MPM-RP

THE MAJESTIC STAR CASINO, LLC
d/b/a FITZ TUNICA CASINO & HOTEL,
JOHN DOES, and PERSONS UNKNOWN,                                              Defendants.


                 ORDER GRANTING CONSENT MOTION TO DISMISS


       This matter comes before the Court on Defendant The Majestic Star Casino, LLC’s

(“Defendant”) Consent Motion to Dismiss Based on Settlement, and the Court is of the opinion

that said motion should be granted.

       IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that this matter is now

dismissed, with prejudice, with each Party to bear its own fees and costs.

       SO ORDERED, this 6th day of December, 2021.




                                                      /s/ Michael P. Mills
                                                     UNITED STATES DISTRICT JUDGE
